                                                      Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 1 of 13




                                                1   Christopher M. Curran (pro hac vice)
                                                    ccurran@whitecase.com
                                                2
                                                    Lucius B. Lau (pro hac vice)
                                                3   alau@whitecase.com
                                                    Dana E. Foster (pro hac vice)
                                                4
                                                    defoster@whitecase.com
                                                5   White & Case LLP
                                                    701 Thirteenth Street, N.W.
                                                6
                                                    Washington, DC 20005
                                                7   Telephone: (202) 626-3600
                                                    Facsimile: (202) 639-9355
                                                8
                                                9   Counsel to Defendants Toshiba Corporation,
                                                    Toshiba America, Inc.,
                                               10
                                                    Toshiba America Consumer Products, LLC,
                                               11   Toshiba America Information Systems, Inc.,
                                                    and Toshiba America Electronic Components, Inc.
                                               12
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13                               UNITED STATES DISTRICT COURT
                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                               14
                                                                                  (SAN FRANCISCO DIVISION)
                                               15
                                               16
                                                    IN RE: CATHODE RAY TUBE (CRT)                               Case No. 07-5944 SC
                                               17   ANTITRUST LITIGATION                                          MDL No. 1917
                                               18
                                               19   This Document Relates To:
                                               20   The Indirect Purchaser Action
                                               21   Electrograph Systems, Inc. et al. v. Hitachi, Ltd.     DECLARATION OF
                                               22   et al., No. 11-cv-01656;                               LUCIUS B. LAU IN SUPPORT OF
                                                                                                           DEFENDANTS’ JOINT NOTICE
                                               23   Siegel v. Hitachi, Ltd., et al.,
                                                                                                           OF MOTION AND MOTION TO
                                                    No. 11-cv-05502;
                                               24                                                          EXCLUDE CERTAIN EXPERT
                                                    Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,   TESTIMONY OF PROFESSOR
                                               25
                                                    No. 11-cv-05513;                                       KENNETH ELZINGA
                                               26
                                                    Target Corp., et al. v. Chunghwa Picture Tubes,
                                               27   Ltd., et al., No. 11-cv-05514;
                                               28

                                                      DECLARATION OF LUCIUS B. LAU IN SUPPORT OF DEFENDANTS’ JOINT NOTICE OF MOTION
                                                           AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF PROF. ELZINGA
                                                                                      Case No. 07-5944-SC
                                                                                         MDL No. 1917
                                                      Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 2 of 13




                                                1   Sears, Roebuck and Co., et al. v. Chunghwa
                                                    Picture Tubes, Ltd., et al., No. 11-cv-05514;
                                                2
                                                3   Interbond Corporation of America v. Hitachi, et
                                                    al., No. 11-cv-06275;
                                                4
                                                    Office Depot, Inc. v. Hitachi, Ltd., et al.,
                                                5   No.11-cv-06276;
                                                6
                                                    CompuCom Systems, Inc. v. Hitachi, Ltd. et al.,
                                                7   No. 11-cv-06396;
                                                8   Costco Wholesale Corporation v. Hitachi, Ltd.,
                                                9   et al., No. 11-cv-06397;

                                               10   P.C. Richard & Son Long Island Corporation, et
                                                    al. v. Hitachi, Ltd., et al., No. 12-cv-02648;
                                               11
                                                    Schultze Agency Services, LLC v. Hitachi, Ltd.,
                                               12
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                                                    et al., No. 12-cv-02649;
                    Washington, DC 20005
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                                               13
                                                    Tech Data Corporation, et al. v. Hitachi, Ltd.,
                                               14   et al., No. 13-cv-00157;
                                               15   Sharp Electronics Corp., et al. v. Hitachi, Ltd.,
                                               16   et al., No. 13-cv-01173;

                                               17   ViewSonic Corporation, v. Chunghwa Picture
                                                    Tubes, Ltd., et al., No. 3:14cv-02510
                                               18
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                                               22
                                               23             REDACTED VERSION OF DOCUMENTS SOUGHT TO BE SEALED
                                               24
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                                                      DECLARATION OF LUCIUS B. LAU IN SUPPORT OF DEFENDANTS’ JOINT NOTICE OF MOTION
                                                           AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF PROF. ELZINGA
                                                                                     Case No. 07-5944 SC
                                                                                        MDL No. 1917
                                                      Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 3 of 13




                                                1   I, Lucius B. Lau, hereby declare as follows:
                                                2          1.      I am an attorney with the law firm of White & Case LLP, counsel for
                                                3   Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba America Consumer
                                                4   Products, LLC, Toshiba America Information Systems, Inc., and Toshiba America Electronic
                                                5   Components, Inc. (collectively, the “Toshiba Defendants”).
                                                6          2.      I submit this declaration in support of Defendants’ Joint Notice of Motion
                                                7   and Motion to Exclude Certain Expert Testimony of Professor Kenneth Elzinga. Except for
                                                8   those matters stated on information and belief, which I believe to be true, I have personal
                                                9   knowledge of the facts stated herein, and I could and would competently testify thereto if
                                               10   called as a witness.
                                               11          3.      Attached hereto as Exhibit A is a true and correct copy of the Expert Report of
                                               12   Kenneth Elzinga, dated April 15, 2014.
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13          4.      Attached hereto as Exhibit B is a true and correct copy of Reply Expert Report
                                               14   of Professor Kenneth Elzinga, dated Sept. 26, 2014.
                                               15          5.      Attached hereto as Exhibit C is a true and correct copy of excerpts from the
                                               16   deposition of Kenneth Elzinga, taken October 15, 2014.
                                               17          6.      Attached hereto as Exhibit D is a true and correct copy of excerpts from the
                                               18   deposition of Kenneth Elzinga, taken July 17, 2014.
                                               19          7.      Attached hereto as Exhibit E is a true and correct copy of excerpts from the
                                               20   testimony of Kenneth Elzinga, In re: Urethane Antitrust Litig., No. 04-1616 (Dkt # 2871).
                                               21          I declare under penalty of perjury under the laws of the United States of America that
                                               22   the foregoing is true and correct.
                                               23          Executed this 5th day of December, 2014, in Washington, D.C.
                                               24
                                               25
                                               26
                                                                                                                   Lucius B. Lau
                                               27
                                               28

                                                     DECLARATION OF LUCIUS B. LAU IN SUPPORT OF DEFENDANTS’ JOINT NOTICE OF MOTION
                                                          AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF PROF. ELZINGA
                                                                                     Case No. 07-5944-SC
                                                                                        MDL No. 1917
Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 4 of 13




                           Exhibit A
                        Filed Under Seal
Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 5 of 13




                           Exhibit B
                        Filed Under Seal
Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 6 of 13




                           Exhibit C
                        Filed Under Seal
Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 7 of 13




                           Exhibit D
                        Filed Under Seal
Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 8 of 13




                            Exhibit E
Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 1 of 134
  Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 9 of 13
                                                               4404

   1                             VOLUME 16
                              MORNING SESSION
   2               IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS
   3

   4   IN RE:

   5   URETHANE ANTITRUST LITIGATION              CASE NO. 04-1616

   6

   7                 TRANSCRIPT OF TRIAL PROCEEDINGS
                                  before
   8                   HONORABLE JOHN W. LUNGSTRUM
                                    on
   9                        FEBRUARY 13, 2013

 10                              APPEARANCES

 11    For the Plaintiffs:      Joseph Goldberg
                                Freedman, Boyd, Hollander, Goldberg
 12                             & Ives PA
                                20 First Plaza, Suite 700
 13                             Albuquerque, NM 87102

 14                             Michael J. Guzman
                                Kellogg, Huber, Hansen, Todd, Evans
 15                             & Figel PLLC
                                Sumner Square
 16                             1615 M Street, NW, Suite 400
                                Washington, DC 20036-3209
 17
                                Roberta D. Liebenberg
 18                             Fine, Kaplan and Black RPC
                                One South Broad Street, Suite 2300
 19                             Philadelphia, PA 19107

 20                             Kit A. Pierson
                                Cohen, Milstein, Sellers & Toll,
 21                             PLLC
                                West Tower, Suite 500
 22                             1100 New York Avenue, NW
                                Washington, DC 20005-3934
 23

 24

 25
                         REBECCA S. RYDER, CSR, CCR, RMR
                          UNITED STATES COURT REPORTER
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Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 118 of 134
   Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 10 4521
                                                                 of 13
                 DIRECT EXAMINATION
    1          Dr. McClave's statistical model. I did not do that.

   2    Q.   Okay.   You also said in connection -- let me go back.

   3         You said that you did look at Dr. Solow's testimony

   4         before this jury.    Do you recall that?

   5    A.   Yes, sir.

   6    Q.   Okay.   And it's true, is it not, that as the jury

   7         well knows, Dr. Solow in turn examined things like

   8         the meeting at the Greenbrier resort and playing golf

   9         and this kind of thing?     Have you analyzed the

  10         evidence that Dr. Solow called evidence regarding

  11         pricing communications?

  12    A.   I have certainly read the evidence because I have

  13         read his reports.

  14    Q.   Okay.   I haven't heard you talk about it here this

  15         morning.    Why haven't you talked to the jury about

  16         the meeting at the Green -- the 19th hole at

  17         Greenbrier or the walk in the woods at Baywood or any

  18         of the other events that have been described in

  19         testimony?    Why didn't you do that?

  20    A.   I didn't do that because I don't think that's the job

  21         of an economist.    To my mind that's the job of a

  22         conspiracy-ologist.

  23    Q.   Okay.   Is that your term, conspiracy-ologist?

  24    A.   No, that's not my term.     That's a term I learned when

  25         I was much younger working on the Supreme Court case
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Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 119 of 134
   Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 11 4522
                                                                 of 13
                 DIRECT EXAMINATION
    1          that I mentioned earlier called Matsushiba. And in

   2          that case the -- there were two economists for the --

   3                     MR. GOLDBERG:   Your Honor, I'm going to --

   4          he's gone beyond the question, was that your term.

   5          Now we're going into a narrative --

   6                     THE COURT:   Sustained.

   7                     MR. GOLDBERG:   -- which I'm going to object

   8          to.

   9                     THE COURT:   Sustained.

  10                     MR. BERNICK:    Oh.

  11    Q.    (By Mr. Bernick) Well, what is it that you mean by

  12          conspiracy-ologist?

  13    A.    Well, I'm about to explain that in the context of

  14          Matsushiba because that's where I learned the term.

  15                     MR. GOLDBERG:   Now I'm going to object.

  16                     MR. BERNICK:    Just relax.   I'm going to

  17          instruct him.

  18    Q.    (By Mr. Bernick) I think counsel for the class is

  19          concerned with your reciting the case that gave you

  20          that term.    And in order to make our process smooth

  21          and harmonious, I would like you to simply confine

  22          your testimony to what you have taken that word to

  23          mean and its relevance to the nature of the approach

  24          that you have taken here.     And if you could do that

  25          that would be -- everybody will be happy and we will
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Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 120 of 134
   Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 12 4523
                                                                 of 13
                 DIRECT EXAMINATION
    1          go forward.

    2   A.    Okay.   I will try and do that.     I do want to go

    3         forward.

    4   Q.    Okay.

    5   A.    So the term, I came to learn, means where someone who

    6         claims to be an economist looks at evidence of the

    7         data that "he said/she said," or I was at this -- I

    8         saw that they played golf together, or it was this

    9         luncheon, and infers from that that this was a

  10          conspiracy.    And I have saw that term referred to as

  11          a conspiracy-ologist.     And where I came across that

  12          term --

  13                     THE WITNESS:    That's where it stops.

  14                     THE COURT:    Good enough.

  15    Q.    (By Mr. Bernick) Tell us -- this does have -- this

  16          whole idea of that kind of approach where you're

  17          looking at the "he said/she said" that's something

  18          that you decided not to do in this case; correct?

  19    A.    That's correct.    To my mind that is not economics,

  20          that's the work of a conspiracy-ologist.

  21    Q.    And you've followed the same approach for years and

  22          years and years?

  23    A.    That's correct.

  24    Q.    So now tell the jury why it is that you don't go down

  25          that road.
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Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 121 of 134
   Case 4:07-cv-05944-JST Document 3174-1 Filed 12/05/14 Page 13 4524
                                                                 of 13
                 DIRECT EXAMINATION
    1    A.    I don't go down that road because I don't have any

    2         particular training.     As an economist there's nothing

    3         in my graduate training, there's nothing in the

    4         research I do as an antitrust economist that gives me

    5         an advantage or special insight into learning about a

    6         conversation that might have taken place when people

    7         played golf or when they were at lunch with one

    8         another.   That type of evidence to me is not

    9         economics evidence, it's not what economists work

  10          with.

  11               If I can just put my mystery writer's hat on a

  12          moment it's what we call gumshoe evidence, and

  13          gumshoe evidence may be a term that not everybody

  14          knows, but in mystery writing parlance a gumshoe is a

  15          detective, it's a PI, a private investigator.

  16    Q.    Who walks around in shoes that are soft-soled shoes?

  17                     THE COURT:    Or steps on chewing gum.     Who

  18          knows, but let's --

  19                     MR. BERNICK:    Well, I don't know, your

  20          Honor.

  21                     THE COURT:    Probably not that pertinent.

  22                     MR. BERNICK:    I am cutting out lots of

  23          things to ask, but I thought we would get a little

  24          bit of something in there.      Sorry.

  25    Q.    (By Mr. Bernick) Okay.     So you don't do that kind of
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